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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION
                                    www.flsb.uscourts.gov

In re:
                                                                  Case No. 23-12386-EPK
BANYAN CAY RESORT & GOLF, LLC, et al1                             Chapter 11

                                                                  (Jointly Administered)

                  Debtor.
_____________________________________/
                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that true and correct copies of the following documents were served

on the parties listed below, in the manner and dates indicated:

          [ECF NO. 270] Contact Purchaser’s Emergency Motion to Modify Order [ECF No. 105] to
         Restate Legal Description and to Approve a 21st Amendment to Agreement for Purchase and
         Sale of Real Property;

         [ECF NO.273] Notice of Hearing to consider [ECF No. 270].



    Dated: July 24, 2023                 FURR AND COHEN, P.A.
                                         Attorneys for Banyan Cay Estates, LLC
                                         2255 Glades Road, Suite 419A
                                         Boca Raton, FL 33431
                                         (561) 395-0500/(561)338-7532-fax

                                         By /s/Robert C. Furr
                                            Robert C. Furr
                                            Florida Bar No. 210854
                                            E-mail: rfurr@furrcohen.com




1
 The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan Cay
Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; and (vi) Banyan Cay Maintenance,
LLC. The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401.

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[ECF NO. 270 AND 273] SERVED VIA CM/ECF ON JULY 21, 2023, TO ALL PARTIES
REGISTERED WITH CM/ECF TO RECEIVE ELECTRONIC NOTICES:

Mailing Information for Case 23-12386-EPK

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

      Magda Abdo-Gomez maggie@magtaxatty.com
      Louis X Amato louisa@louamato.com
      Paul J. Battista pjbattista@venable.com,
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       le.com;imalcolm@ecf.courtdrive.com
      John C Cannizzaro john.cannizzaro@icemiller.com
      Carmen Contreras-Martinez carmen.contreras-martinez@saul.com,
       aida.mclaughlin@saul.com;mia-ctdocs@saul.com
      Ryan E Davis rdavis@whww.com,
       thiggens@whww.com;thiggens@ecf.courtdrive.com
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      Heidi A Feinman Heidi.A.Feinman@usdoj.gov
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       e.com
      Michael A Kaufman michael@mkaufmanpa.com,
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      Susan D. Lasky ECF@suelasky.com,
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      Bernice C. Lee blee@kttlaw.com, rcp@kttlaw.com;ycc@kttlaw.com



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      Isaac M Marcushamer isaac@dgimlaw.com,
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       dstrand@underwoodmurray.com
      Michael Jordan Niles mniles@bergersingerman.com,
       efile@bergersingerman.com;efile@ecf.courtdrive.com;zmorton@bergersingerman.com
      Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
      Joseph A Pack joe@packlaw.com
      Hampton Peterson legalservices@PBCTax.com
      Shaun T Plymale kmish@treasurecoastlegal.com,
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      Chad P Pugatch ecf.pugatch@loriumlaw.com
      Brian G Rich brich@bergersingerman.com,
       efile@bergersingerman.com;efile@ecf.courtdrive.com;zmorton@bergersingerman.com
      Eduardo F Rodriguez eddie@efrlawfirm.com
      Traci H Rollins trollins@gunster.com, crossodivita@gunster.com
      Ariel Sagre law@sagrelawfirm.com
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      James S Telepman jst@cohennorris.com
      Ted W Weeks tww@lawofficetweeks.com
      Aaron A Wernick awernick@wernicklaw.com,
       awernick@ecf.courtdrive.com;crubin@wernicklaw.com;cworkinger@wernicklaw.com

[ECF NO. 270 AND 273] SERVED VIA U.S. MAIL ON JULY 24, 2023, ON THE PARTIES
LISTED BELOW AND, ON THE COURT’S, OFFICIAL MAILING MATRIX:


Manual Notice List

       A Christian Glass & Mirror Co.
       c/o Ron Dable
       925 S Congress Ave
       Delray Beach, FL 33445

       Stephen M. Blank
       90 Park Avenue
       New York, NY 11016

       Matthew Bordwin
       1 Huntington Quadrangle, Suite 2C04
       Melville, NY 11747

       Gerard S. Catalanello
       90 Park Avenue
       New York, NY 11016

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Barry A. Chatz
161 North Clark Street, Suite 4200
Chicago, IL 60601

Chuck's Backhoe Service, Inc.
c/o Don Horowitz
2301 NW 15 Ct
Pompano Beach, FL 33069

David A. Golin
161 North Clark Street, Suite 4200
Chicago, IL 60601

Hector Turf
c/o Dave Crofoot
2101 Cantu Ct
Sarasota, FL 34232

Mardale Specialties Direct
c/o Eduardo Merino
4113 NW 124 Ave
Coral Springs, FL 33065

Gerard A. McHale
1601 Jackson Street, Suite 200
Fort Myers, FL 33901

Morell Studios LLC
c/o Raymond R Finch
4128 Westroads Dr., Ste 205
Riviera Beach, FL 33407

Thomas Printworks
c/o Kim Noland
600 North Central Expressway
Richardson, TX 75080

Twins Flooring Group, LLC
Attn: Peter C. Carey
5062 N Dixie Hwy
Oakland Park, FL 33334

U& Me Transfer Inc.
Ryan Spencer, Vice President
3300 Electronics Way

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      West Palm Beach, FL 33407

      Wolvering Roofing, LLC
      c/o Dave Wikel
      1300 Old Dixie Hwy #101
      Lake Park, FL 33403


Attached Official Court Matrix Case No. 23-12386-EPK




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